               Case
     Fill in this       1:21-bk-10763-MB
                  information to identify your case:   Doc 1 Filed 04/28/21 Entered 04/28/21 19:05:25                                    Desc
                                                       Main Document    Page 1 of 14
     United States Bankruptcy Court for the:

     ____________________
     Central               District of _________________
             District of California    (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Shift Bar, LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           Grill Concepts
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               1850 Festival Plaza Dr.                                  5765  S. Rainbow Blvd., Suite 101
                                                                                                        _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number      Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Las Vegas                     NV    89135
                                            ______________________________________________
                                                                                                        Las Vegas                  NV      89118
                                                                                                        _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Clark County
                                            ______________________________________________
                                            County
                                                                                                        Significant portion of Debtors consolidated
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        assets is located in California Central District
                                                                                                        _______________________________________________

                                                                                                        LA                         CA      91403
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 www.grillconcepts.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                                                   Main Document    Page 2 of 14
                Shift Bar, LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            7225
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          
                                                          ✔   A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          SEE ATTACHED                                                       Business Affiliation
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               California Central District Bankruptcy Court
                                                   District _____________________________________________ When                 04/28/2021
                                                                                                                              __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
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              Shift Bar, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Shift Bar, LLC
                                                     Main Document    Page 4 of 14
 Debtor                                                                _                  Case number (if known)
              First Name        Middle Name    Last Name



                                                   Continuation Sheet for Official Form 201
10) Pending Bankruptcies

PS On Tap, LLC                         California Central          04/28/2021
                                       District
                                       Bankruptcy Court

Grill Concepts,                        California Central          04/28/2021
Inc., a California                     District
corporation                            Bankruptcy Court

Grill Concepts,                        California Central          04/28/2021
Inc., a Nevada                         District
corporation                            Bankruptcy Court

Grill Concepts                         California Central          04/28/2021
Services, Inc.                         District
                                       Bankruptcy Court

Grill Concepts                         California Central          04/28/2021
Management, Inc.                       District
                                       Bankruptcy Court

GCI-MP, Inc.                           California Central          04/28/2021
                                       District
                                       Bankruptcy Court

PS 303, LLC                            California Central          04/28/2021
                                       District
                                       Bankruptcy Court

Shift Bar, LLC                         California Central          04/28/2021
                                       District
                                       Bankruptcy Court

GCI-CC, Inc.                           California Central          04/28/2021
                                       District
                                       Bankruptcy Court

Grill Concepts-D.C.                    California Central          04/28/2021
, Inc.                                 District
                                       Bankruptcy Court




   Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy
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              Shift Bar, LLC
Debtor                                                                                       Case number(ilknown),_ _ __ _ _ _ _ _ _ _ __
              Name



                                        0   $0-$50,000                   0    $1,000,001 -$10 million                  0   $500,000,,001-$1 billion
16. Estimated liabilities
                                        0   $50,001-$100,000             la   $10,000,001-$50 million                  0   $1,000,000,001-$10 billion
                                        0   $100,001-$500,000            0    $50,000,001-$100 million                 0   $10,000,000,001-$50 billion
                                        0   $500,001-$1 million          0    $100,000,001-$500 million                0   More than $50 billion




            Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11 , United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the infonnalion in this petition and have a reasonable belief that the infonnalion is trlle and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.




                                                                                                        Claude R. Cognian
                                                                                                        Printed name

                                            Title   President/CEO




18.   Signature of attorney                                                                                         04/28/2021
                                                                                                        Date
                                                                                                                    MM     /DD /YYYY



                                             Carol Chow
                                            Printed name
                                             Carol Chow
                                            Finn name
                                             1888 Century Park East Suite 1500
                                            Number         Street
                                             Los Angeles                                                    CA      90067
                                            City
                                                                                                           -  - - - ZIP
                                                                                                           State        Code

                                             (310) 255-6108                                                    carol.chow@ffslaw.com
                                            Contact phone                                                   Email address



                                             169299                                                          CA
                                            Bar number                                                      State




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page4
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      Fill in this information to identify the case:

                    Shift Bar, LLC
      Debtor name __________________________________________________________________

                                              Central District of California
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Beard Publishing Inc                   Angie Jimenez               Services
1    1331 E Warner Ave                      (714) 549-7705
     Santa Ana, CA, 92705                   angie@beardpublishing.com                                                                                1,963.00



2




3




4




5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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                  Shift Bar, LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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X
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Beard Publishing Inc
1331 E Warner Ave
Santa Ana, CA 92705
        Case 1:21-bk-10763-MB                  Doc 1 Filed 04/28/21 Entered 04/28/21 19:05:25                                          Desc
                                               Main Document    Page 10 of 14



Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
Nos. State Bar No. & Email Address
Caro1Chow
1888 Century Park East Suite 1500
Los Angeles, CA 90067
(310) 255-6108
169299
carol.chow@ffslaw.com




 D Debtor(s) appearing without attorney
 [{] Attorney for Debtor

                                        UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA -SAN FERNANDO VALLEY DIVISION

 In re:                                                                   CASE NO.:
 Shift Bar, LLC
                                                                          CHAPTER: 11




                                                                                       VERIFICATION OF MASTER
                                                                                      MAILING LIST OF CREDITORS
                                                                                                   [LBR 1007-1(a)]



                                                          Debtor(s).



Pursuant to LBR 1007-1 {a), the Debtor, or the Debtor's attorney if applicable, certifies under
penalty of perjury that the master mailing list of creditors filed in this bankruptcy case, consisting of
_1 _ sheet(s) is complete, correct, and consistent with the Debtor's schedules and I/we assume all
responsibility for errors and omissions.                   -~                      .


Date:    04/28/2021                                                             _                    ~              N\ .        ----
                                                                         Sign        r of Debtor 1

Date:     0412812021
                                                                          Signature of Debtor 2 (joint debtor) (if applicable)

Date:     0412a12021
                                                                          Signature of Attorney for Debtor (if applicable)


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California

 December 2015                                                                                     F 1007-1.MAILING.LIST.VERIFICATION
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address
 THEODORE B. STOLMAN (BAR NO. 52099)
 ted.stolman@fffslaw.com
 CAROL CHOW (BAR NO. 169299)
 carol.chow@ffslaw.com
 FREEMAN, FREEMAN & SMILEY, LLP
 1888 Century Park East, Suite 1500
 Los Angeles, California 90067
 Telephone: (310) 255-6100
 Facsimile: (310) 255-6200
      Attorney for: Shift Bar, LLC

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

 In re:
 Shift Bar, LLC                                                              CASE NO.:
                                                                             ADVERSARY NO.:
                                                                             CHAPTER: 11
                                                             Debtor(s).



                                                                                   CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                            Plaintiff(s),              and 7007.1, and LBR 1007-4



                                                                                                           [No hearing]
                                                         Defendant(s).



Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a
debtor in a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying
all its parent corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly
own 10% or more of any class of the corporation’s equity interest, or state that there are no entities to report. This
Corporate Ownership Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary
proceeding. A supplemental statement must promptly be filed upon any change in circumstances that renders this
Corporate Ownership Statement inaccurate.

I, (Printed name of attorney or declarant) Claude R. Cognian                                      , the undersigned in
the above-captioned case, hereby declare under penalty of perjury under the laws of the United States that the following
is true and correct:




             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                  F 1007-4.CORP.OWNERSHIP.STMT
       Case 1:21-bk-10763-MB                         Doc 1 Filed 04/28/21 Entered 04/28/21 19:05:25                                           Desc
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[Check the appropriate boxes and, if applicable, provide the required information.]

1. I have personal knowledge of the matters set forth in this Statement because:


        ~       I am the president or other officer or an authorized agent of the Debtor corporation
       D        I am a party to an adversary proceeding
       D        I am a party to a contested matter
       D        I am the attorney for the Debtor corporation

2.a.        ~   The following entiities, other than the Debtor or a governmental unit, directly or indirectly own 10% or more of
                any class of the corporation's(s') equity interests:
            PS 702, LLC (NV)



            [For additional names, attach an addendum to this form.]

  b.        ~   There are no entities that directly or indirectly own 10% or more of any class of the corporation's equity
                interest.



Date: April 28, 2021                                                                 By:                             "V\, ..•   A/'\ - -- - - - -



                                                                                     Name: Claude R. Cognian
                                                                                            Printed name of Debtor, or attorney for Debtor




                This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                              Page 2                    F 1007-4.CORP.OWNERSHIP.STMT
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                        UNITED STATES BANKRUPTCY COURT
                                            Central District of California


             In re Shift Bar, LLC                                                     Case No.
                        Debtor.                                                       Chapter 11


                                       LIST OF EQUITY SECURITY HOLDERS

         Following is the list of the Debtor's equity holders which is prepared in accordance with
 Rule I 007(a)(3) for filing in this chapter 11 case.
                  (I)                                        (2)                (3)                       (4)
Name a11d las/ known address or place of   Secur:ity Class             Number ofSecurilies   Kind of In1eres1
business ofholder
PS 702, LLC (NV)                           Membership Interest         100%                  Membership
1850 Festival Plaza Drive                                                                    Interest
Las Vegas, NV 89135




DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR
PARTNERSHIP

       I, the Claude R. Cognian of the corporation named as debtor in this case, declare under
penalty of pe1jury that I have read the foregoing List of Equity Security Holders and that it is true
and correct to the best of my information and belief.


Date : April 28, 2021


                                                                   Clauae:tOgnian
                                                                   President/CEO


Penalty for making a false statement or concealing property: Fine of up to $500,000 or
imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571


_ _ continuation sheets attached to List of Equity Security Holders




4172295. 1
